                                                                     B1 (Official Form 1) (4/10)
                                                                                                           United States Bankruptcy Court
                                                                                                           Northern District of California                                                                  Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Igudesman, Leonid                                                                     Igudesman, Elizaveta
                                                                      All Other Names used by the Debtor in the last 8 years                                All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                           (include married, maiden, and trade names):
                                                                      Leon Igudesman                                                                        Lisa Igudesman
                                                                      Leonard Igudesman                                                                     Elizabeth Igudesman

                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): 4509                                               EIN (if more than one, state all): 4274

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                      Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      1227 37th Ave                                                                         810 Gonzalez Dr, #2J
                                                                      San Francisco, CA                                                                     San Francisco, CA
                                                                                                                             ZIPCODE 94122                                                                         ZIPCODE 94132
                                                                      County of Residence or of the Principal Place of Business:                            County of Residence or of the Principal Place of Business:
                                                                      San Francisco                                                                         San Francisco
                                                                      Mailing Address of Debtor (if different from street address)                          Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                               ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                   ZIPCODE
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                         Type of Debtor                                      Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                             the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                           ü Chapter 7                  Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)
                                                                          Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                    Chapter 9
                                                                                                                                                                                      Chapter 11
                                                                                                                                                                                                               Recognition of a Foreign
                                                                                                                                                                                                               Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                           Chapter 12               Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                        Chapter 13               Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                            Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                        Nature of Debts
                                                                                                                                   Other                                                                (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                  ü   Debts are primarily consumer
                                                                                                                                                                                     debts, defined in 11 U.S.C.
                                                                                                                                                                                                                         Debts are primarily
                                                                                                                                                                                                                         business debts.
                                                                                                                                           (Check box, if applicable.)               § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under         individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the           personal, family, or house-
                                                                                                                                   Internal Revenue Code).                           hold purpose.”
                                                                                          Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee          Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.            than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                        COURT USE ONLY
                                                                      ü  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                               ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-          10,001-          25,001-          50,001-         Over
                                                                                                                        5,000          10,000          25,000           50,000           100,000         100,000
                                                                     Estimated Assets
                                                                     ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                             ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                               Case: 10-32694                  Doc# 1            Filed: 07/18/10             Entered: 07/18/10 00:07:09                        Page 1 of 21
                                                                     B1 (Official Form 1) (4/10)                                                                                                                            Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Igudesman, Leonid & Igudesman, Elizaveta

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                     X   /s/ Joan M. Chipser                                            7/17/10
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                           ü Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.
                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                  Case: 10-32694           Doc# 1         Filed: 07/18/10             Entered: 07/18/10 00:07:09                         Page 2 of 21
                                                                     B1 (Official Form 1) (4/10)                                                                                                                                                    Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Igudesman, Leonid & Igudesman, Elizaveta

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Leon Igudesman                                                                     Signature of Foreign Representative
                                                                          Signature of Debtor                                    Leon Igudesman
                                                                      X   /s/ Elizaveta Igudesman                                                                Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                           Elizaveta Igudesman
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          July 17, 2010
                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Joan M. Chipser                                                               preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Joan M. Chipser 83192                                                             110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Joan M. Chipser                                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          Attorney-at-Law                                                                   chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          1 Green Hills Court                                                               notice of the maximum amount before preparing any document for filing
                                                                          Millbrae, CA 94030                                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          (650) 697-1564 Fax: (650) 873-2858                                                section. Official Form 19 is attached.
                                                                          joanchipser@sbcglobal.net
                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          July 17, 2010
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X
                                                                          Signature of Authorized Individual

                                                                                                                                                            If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                            in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date



                                                                                 Case: 10-32694                   Doc# 1        Filed: 07/18/10             Entered: 07/18/10 00:07:09                                 Page 3 of 21
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                        Northern District of California

                                                                     IN RE:                                                                                           Case No.
                                                                     Igudesman, Leonid                                                                                Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Leon Igudesman
                                                                     Date: July 17, 2010


                                                                               Case: 10-32694               Doc# 1    Filed: 07/18/10         Entered: 07/18/10 00:07:09               Page 4 of 21
Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 5 of 21
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                        Northern District of California

                                                                     IN RE:                                                                                           Case No.
                                                                     Igudesman, Elizaveta                                                                             Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Elizaveta Igudesman
                                                                     Date: July 17, 2010


                                                                               Case: 10-32694               Doc# 1    Filed: 07/18/10         Entered: 07/18/10 00:07:09               Page 6 of 21
Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 7 of 21
                                                                     B201A (Form 201A) (12/09)

                                                                      WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
                                                                         Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2

                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                          OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                              Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                              Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                              Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your



                                                                             Case: 10-32694         Doc# 1       Filed: 07/18/10       Entered: 07/18/10 00:07:09           Page 8 of 21
                                                                     B201A (Form 201A) (12/09)                                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $39 administrative fee: Total fee $274)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

                                                                     Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
                                                                     require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter
                                                                     13 plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




                                                                             Case: 10-32694          Doc# 1      Filed: 07/18/10       Entered: 07/18/10 00:07:09            Page 9 of 21
                                                                     B201B (Form 201B) (12/09)

                                                                                                                       United States Bankruptcy Court
                                                                                                                       Northern District of California

                                                                     IN RE:                                                                                           Case No.
                                                                     Igudesman, Leonid & Igudesman, Elizaveta                                                         Chapter 7
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                     Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                     the Social Security number of the officer,
                                                                                                                                                                     principal, responsible person, or partner of
                                                                                                                                                                     the bankruptcy petition preparer.)
                                                                                                                                                                     (Required by 11 U.S.C. § 110.)
                                                                     X
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Igudesman, Leonid & Igudesman, Elizaveta                               X /s/ Leon Igudesman                                        7/17/2010
                                                                     Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                    X /s/ Elizaveta Igudesman                                   7/17/2010
                                                                                                                                               Signature of Joint Debtor (if any)                            Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.




                                                                             Case: 10-32694            Doc# 1       Filed: 07/18/10         Entered: 07/18/10 00:07:09                Page 10 of 21
                                                                                                                   United States Bankruptcy Court
                                                                                                                    Northern District of California

                                                                     IN RE:                                                                                  Case No.
                                                                     Igudesman, Leonid & Igudesman, Elizaveta                                                Chapter 7
                                                                                                            Debtor(s)

                                                                                                              CREDITOR MATRIX COVER SHEET
                                                                     I declare that the attached Creditor Mailing Matrix, consisting of        10 sheets, contains the correct, complete and current
                                                                     names and addresses of all priority, secured and unsecured creditors listed in debtor’s filing and that this matrix conforms with
                                                                     the Clerk’s promulgated requirements.

                                                                     DATED: July 17, 2010


                                                                                                                  /s/ Joan M. Chipser
                                                                                                                  Signature of Debtor’s Attorney or Pro Per Debtor
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                            Case: 10-32694          Doc# 1      Filed: 07/18/10         Entered: 07/18/10 00:07:09          Page 11 of 21
                 18 Media Gentry Magazine
                 C/O Law Offices Of Michael A. Mooney
                 520 S. El Camino Real Ste 318
                 San Mateo, CA 94402


                 18 Media Gentry Magazine
                 1162 El Camino Real
                 Menlo Park, CA 94025


                 Andrei Reprintsev
                 647A Castro Street
                 San Francisco, CA 94114


                 AT&T
                 P.O. Box 515188
                 Los Angeles, CA      95887-0001


                 AT&T
                 C/O Franklin Collection Service
                 P.O. Box 3910
                 Tupelo, MS 38803-3910


                 AT&T
                 Payment Center
                 Sacramento, CA      95887-0001


                 AT&T
                 P.O. Box 515188
                 Los Angeles, CA      90051-5188


                 AT&T Mobility
                 C/O First Revenue Assurance
                 P.O. Box 1259 Dept 13526
                 Oaks, PA 19456




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 12 of 21
                 AT&T Mobility
                 Glenridge Highlands Two, 5565
                 Atlanta, GA 30342


                 AT&T West
                 C/O Bay Area Credit Service
                 1901 W. 10th Street
                 Antioch, CA 94509


                 AT&T West
                 525 Market Street
                 San Francisco, CA          94105


                 Bailey Banks & Biddle
                 P.O. Box 689182
                 Des Moines, IA 50368-9182


                 Brooks Shoes Kids
                 C/O Certegy Payment Recovery Services
                 11601 Roosevelt Blvd.
                 St. Petersburg, FL 33716


                 Brooks Shoes Kids
                 3307 Sacramento Street
                 San Francisco, CA 94118


                 California Pacific Medical Center
                 C/O NCO Financial Systems
                 10540 White Rock Road Ste. 250
                 Rancho Cordova, CA 95670


                 California Pacific Medical Center
                 3700 California Street
                 San Francisco, CA 94118




Case: 10-32694   Doc# 1   Filed: 07/18/10    Entered: 07/18/10 00:07:09   Page 13 of 21
                 Chase
                 P.O. Box 15298
                 Wilmington, DE      19850-5298


                 Chase Bank USA NA
                 C/O Valentine & Kebartas, Inc.
                 P.O. Box 5804
                 Troy, MI 48007-5804


                 Chase Bank USA NA
                 C/O Associated Recovery Systems
                 P.O.Box 1259 Dept 5996
                 Oaks, PA 19456


                 Chase Bank USA NA
                 C/O Capital Management Services LP
                 726 Exchange Street Ste 700
                 Buffalo, NY 14210


                 Chase Bank USA NA
                 C/O GC Services
                 6330 Gulfton
                 Houston, TX 77081


                 Chase Bank USA NA
                 P.O. Box 15298
                 Wilmington, DE 19850-5298


                 Chase Bank USA NA
                 P.O. Box 15298
                 Wilimington, DE 19850-5298


                 Chase Manhattan Bank
                 C/O Creditors Exchange
                 80 Holtz Drive
                 Buffalo, NY 14225




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 14 of 21
                 Citi Bank
                 C/O Hunt & Henriques
                 151 Bernal Road Ste 8
                 San Jose, CA 95119-1306


                 Citi Bank
                 100 Citibank Drive
                 San Antonio, TX 78245


                 Citi Mastercard
                 C/O United Collection Bureau
                 5620 Southwyck Blvd Ste. 206
                 Toledo, OH 43614


                 Citibank
                 Citibank Customer Service Center
                 Box 6000
                 The Lakes, NV 89163-6000


                 City And County Of San Francisco
                 Bureau Of Delinquent Revenue
                 P.O. Box 7426
                 San Francisco, CA 94120-7426


                 City And County Of San Francisco
                 C/O LDC Collection Systems
                 P.O. Box 7684
                 San Francisco, CA 94120-7684


                 City Of Burlingame
                 P.O. Box 9003
                 Redwood City, CA 94065-9003


                 City Of South San Francisco
                 P.O. Box 9003
                 Redwood City, CA 94065-9003




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 15 of 21
                 Club One
                 C/O Bridgeport Financial
                 1111 Willow St. 2nd Floor
                 San Jose, CA 95125


                 Club One
                 1455 Fillmore Street
                 San Francisco, CA 94115


                 Discover Card
                 P.O. Box 30943
                 Salt Lake City, UT         84130


                 Farella Braun & Martel
                 235 Montgomery Street
                 30th Floor
                 San Francisco, CA 94104


                 Fidelity National Title
                 Uyen P. Nguyen VP
                 55 Francisco Street Ste 210
                 San Francisco, CA 94133


                 Franchise Tax Board
                 Special Procedures Bankruptcy Unit
                 P.O. Box 2952
                 Sacramento, CA 95812-2952


                 Goldstein Gellman Melbostad Et Al
                 1388 Sutter Street Ste 1000
                 San Francisco, CA 94109-5494


                 Herzig & Berlese
                 Ivy Court Ste 5
                 414 Gough Street
                 San Francisco, CA          94102




Case: 10-32694   Doc# 1   Filed: 07/18/10    Entered: 07/18/10 00:07:09   Page 16 of 21
                 Infiniti Financial Services
                 Customer Service
                 P.O. Box 660360
                 Dallas, TX 75266-0360


                 Internal Revenue Service
                 Centralized Insolvency Operations
                 P.O. Box 21126
                 Philadelphia, PA 19114-0326


                 King American Ambulance
                 2570 Bush Street
                 San Francisco, CA 94115


                 Kittredge School
                 C/O Facts Management Company
                 P.O. Box 67037
                 Lincoln, NE 68506


                 Kittredge School
                 2355 Lake Street
                 San Francisco, CA          94121


                 Labratory Corporation Of America
                 P.O. Box 2240
                 Burlington, NC 27216-2240


                 Leo Solodukha
                 647A Castro Street
                 San Francisco, CA 94114


                 Liliana & Michael Draper
                 320 Wawona Street
                 San Francisco, CA 94127




Case: 10-32694   Doc# 1   Filed: 07/18/10    Entered: 07/18/10 00:07:09   Page 17 of 21
                 Macys
                 P.O. Box 8066
                 Mason, OH 45040


                 Mercedes Benz Financial
                 C/O AMO Recoveries
                 5655 Peachtree Pkwy Ste 213
                 Norcross, GA 30092


                 Mercedes Benz Financial
                 P.O. Box 685
                 Roanoke, TX 76262


                 Mercedes Benz Financial
                 P.O. Box 9001680
                 Louisville, KY 40290-1680


                 Mercedes Benz Financial
                 36455 Corporate Drive
                 Farmington Hills, MI 48331


                 Michael Degtyarev
                 586 Clipper Street
                 San Francisco, CA 94114


                 Michael Degtyarev
                 C/O Robert L. Shepard
                 760 Market Street Ste. 745
                 San Francisco, CA 94102


                 Mills Peninsula Emergency Med Inc
                 P.O. Box 661868
                 Arcadia, CA 91066-1868




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 18 of 21
                 NSC Federal Security Service
                 P.O. Box 1575
                 Daly City, CA 94014-0575


                 Park Merced Apartments
                 1 Varela Drive
                 San Francisco, CA 94132


                 PG&E
                 2225 Folsom Street
                 San Francisco, CA 94110


                 Prime Time Athletic Club
                 C/O Tek Collect
                 P.O. Box 1269
                 Columbus, OH 43216


                 Prime Time Athletic Club
                 1730 Rollins Road
                 Burlingame, CA 94010


                 San Francisco Chronicle
                 Classified Advertising
                 901 Mission Street
                 San Francisco, CA 94103


                 San Francisco Public Utilities Commissio
                 1155 Market Street
                 San Francisco, CA 94013


                 SF ER Med Assoc - Cal Pac
                 C/O Cypress Collection Services
                 PMB 184 3900 Pelandale #420
                 Modesto, CA 95356




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 19 of 21
                 SF ER Med Assoc - Cal Pac
                 3700 California Street
                 San Francisco, CA 94118


                 Shwiff Levy & Polo LLP
                 C/O Transworld Systems
                 2235 Mercury Way #275
                 Santa Rosa, CA 95407


                 Shwiff Levy & Polo LLP
                 Attn Wendy
                 433 California Street #1000
                 San Francisco, CA 94104


                 Sunset Scavenger Company
                 250 Executive Park Blvd.
                 Ste 2100
                 San Francisco, CA 94134-3306


                 Sutter Health
                 File #73688
                 P.O. Box 60000
                 San Francisco, CA          94160-0001


                 T-Mobile
                 P.O. Box 51843
                 Los Angeles, CA      90051-6143


                 The Rawlings Company
                 One Eden Parkway
                 LaGrange, KY 40031-8100


                 Zipcar, Inc
                 C/O Transworld Systems
                 2235 Mercury Way #275
                 Santa Rosa, CA 95407




Case: 10-32694   Doc# 1   Filed: 07/18/10    Entered: 07/18/10 00:07:09   Page 20 of 21
                 Zipcar, Inc
                 25 First Street
                 Cambridge, MA 02141




Case: 10-32694   Doc# 1   Filed: 07/18/10   Entered: 07/18/10 00:07:09   Page 21 of 21
